                                            Case
                                             Case2:15-cr-00266-RCJ-VCF
                                                   2:15-cr-00266-LDG-VCF Document
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                                        7                            UNITED STATES DISTRICT COURT
                                        8                                 DISTRICT OF NEVADA
228 SOUTH FOURTH STREET, FIRST FLOOR




                                        9   UNITED STATES OF AMERICA,                                )
      DRUMMOND LAW FIRM

      LAS VEGAS, NEVADA 89101
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                                                                                                     )   Case No.: 2:15-cr-00266-LDG-VCF
                                       10
                                                   Plaintiff,                                        )
                                       11                                                            )
                                                   vs.                                               ) ORDER FOR THE RELEASE OF THE
                                       12                                                            )    DEFENDANT TO PRE-TRIAL
                                       13   MARK LLOYD                                               )              SERVICES
                                                                                                     )
                                       14          Defendant.                                        )
                                                                                                     )
                                       15
                                       16
                                                   Upon review of the minutes of proceedings on February 16, 2016 (CMECF #77) and
                                       17
                                            recently learning that an inpatient treatment facility has recently become available for the
                                       18
                                            Defendant, Mr. Mark Lloyd, the Court enters the following Order:
                                       19
                                                   IT IS HEREBY ORDERED that Mr. Mark Lloyd be released from the custody of the
                                       20
                                            United States Marshall’s Service to the custody of United States Pre-Trial Services as soon as
                                       21
                                            7:00am on March 9, 2016, or as soon thereafter as Pre-Trial Services can coordinate.
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                                             Case2:15-cr-00266-RCJ-VCF
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                                        1   ORDER
                                            Case No.: 2:15-cr-00266-LDG-VCF
                                        2   RE: Mr. Mark Loyd
                                        3
                                        4          IT IS FURTHER ORDERED that Mr. Lloyd be transported to an inpatient treatment

                                        5   facility by Pre-Trial Services and that a status report be provided to the Court as soon as Mr. Lloyd

                                        6   completes treatment, or ceases to receive care from the inpatient treatment facility, whereby the

                                        7   Court will then review the custody status of the Defendant.

                                        8          DATED this 9th day of March, 2016.
228 SOUTH FOURTH STREET, FIRST FLOOR




                                        9
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                                       10
                                       11                                                       ___________________________________
                                                                                                UNITED STATES MAGISTRATE JUDGE
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